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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOHN DOE,                                           )
                                                    )
               Plaintiff.                           )
                                                    )       Civil Case No. 1:22-cv-05273
v.                                                  )
                                                    )       Judge Martha M. Pacold
UNIVERSITY OF CHICAGO,                              )
                                                    )
               Defendant.                           )

        JOINT MOTION FOR ENTRY OF AGREED CONFIDENTIALITY ORDER

         Plaintiff John Doe, by and through his attorneys Nesenoff & Miltenberg LLP, and

Defendant University of Chicago, by and through its attorneys Husch Blackwell LLP, submit this

Joint Motion seeking entry of the parties’ proposed agreed confidentiality order. The proposed

agreed confidentiality order has, pursuant to this Court’s procedures, been submitted in redline copy

and clean copy to the Court’s electronic mailbox.



Date: July 14, 2023




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Respectfully submitted,



JOHN DOE                                      UNIVERSITY OF CHICAGO

By: /s/_Andrew T. Miltenberg_________         By: /s/ Michael T. Raupp

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                                  CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that he caused the foregoing document to be filed with
the Clerk of the Court using the CM/ECF system, which will send electronic notification to all
registered counsel of record this 14th day of July, 2023:

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